

Matter of Morris (2023 NY Slip Op 06583)





Matter of Morris


2023 NY Slip Op 06583


Decided on December 21, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:December 21, 2023

PM-277-23
[*1]In the Matter of Marti Beth Morris, an Attorney. (Attorney Registration No. 5209846.)

Calendar Date:December 11, 2023

Before:Garry, P.J., Clark, Aarons, Reynolds Fitzgerald and McShan, JJ.

Marti Beth Morris, Millstone, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Marti Beth Morris was admitted to practice by this Court in 2014 and lists a business address in Trenton, New Jersey with the Office of Court Administration. Morris now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Morris's application.
Upon reading Morris's affidavit sworn to October 6, 2023 and filed October 12, 2023, and upon reading the December 1, 2023 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Morris is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Clark, Aarons, Reynolds Fitzgerald and McShan, JJ., concur.
ORDERED that Marti Beth Morris's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Marti Beth Morris's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Marti Beth Morris is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Morris is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Marti Beth Morris shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








